Case 2:02-cv-02635-SHI\/|-dkv Document 21 Filed 04/27/05 Page 1 of 2 Page|D 14

IN THE UNITED sTATEs DISTRICT COURT FMD t »- 165 D»C`-
FoR THE WESTERN DISTRICT 0F TENNESSE
WESTERN DIVIsIoN 165 f'*»PR 37 Pl“‘l 3= 145

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UNITED STATES OF AMERICA,
Plaintiff,

Cv. No. 02-2635-Ma/v ./
Cr. No. 00-20200 (G)

V.

LARRY LLOYD,

Defendant.

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ORDER

 

Upon motion of the United States and for good cause shoWn, it is hereby ordered that the
United States be allowed to respond to Mr. Lloyd’s claim, that his attorney failed to perfect an appeal

after being requested to do so, on or before June 1, 2005.

q°\.
Ordered this 11 day of April, 2005.

H ORABLE SAMUEL H. MAYS
TED STATES DISTRICT .TUDGE

 

 

DATE; ‘/L?//Of
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APPROVED:

 

SCOTT F.
Assistant United States Attomey
167 N. Main, Room 800
Memphis, TN 38103

(#022357 Tennessee)

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With Rule 58 and/or 79(a) FRCP on § 025

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Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:02-CV-02635 Was distributed by faX, mail, or direct printing on
April 28, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

